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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JESELLE ANDREWS, :
Plaintiff : CIVIL ACTION
v.
NIKE, INC., :
Defendant : No. 21-2793

ORDER

AND NOW, on ial day of October, 2021, upon consideration of Plaintiff Jiselle
Andrews’s Motion to Remand (Doc. No, 12) and Defendant Nike, Inc.’s Notice of Removal (Doc.
No. 1), it is hereby ORDERED that:

1. The Motion to Remand (Doc. No. 12) is GRANTED;

2. The Motion for Order filed by Ms, Andrews (Doc. No. 14) is DEEMED MOOT;

3. This case is REMANDED to the Court of Common Pleas of Philadelphia County for

all further proceedings; and

4. The Clerk of Court shall mark this case CLOSED for all purposes, including statistics.
BY THE COURT:

ofits

NE E, K\ PRATTER
TED STATES DISTRICT JUDGE

 
